Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 1 of 7 Page ID #:2021
                                                                                          JS-6



    1
    2
    3
    4
    5
    6
    7
    8                      UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10
   11 LILIA ABREGO FIGUEROA,                       CASE NO. CV15-01472 BRO (JEMx)
                                                                              th
                                                   Hon. Beverly Reid O’Connell - Ctrm. 7C, 7 Fl.
   12                    Plaintiff,                Hon. Mag. John E. McDermott - Ctrm. C, 8th Fl.

   13 v.
   14 CITY OF LOS ANGELES, LOS                     JUDGMENT
      ANGELES POLICE DEPARTMENT;
   15 MAYOR ERIC GARCETTI, in his
      individual and official capacity; CHIEF
   16 CHARLIE BECK of the Los Angeles
      Police Department, in his individual and
   17 official capacity; SERGEANT ROBERT
      CALDERON of the Los Angeles Police
   18 Department in his individual and official
      capacity; SERGEANT JEFF MARES of the
   19 Los Angeles Police Department officer in
      his individual and official capacity; and
   20 DOES 1through 10, Inclusive,
   21                    Defendants.
   22
   23
   24        This action came on regularly for trial on February 21, 2017, in Courtroom
   25 “7C” of the United States District Court, Central District of California, Central
   26 Division, the Honorable Beverly Reid O’Connell, Judge Presiding. The Plaintiff
   27 LILIA ABREGO FIGUEROA, was represented by attorneys Shanta Driver and
   28 Ronald Cruz. The Defendants CITY OF LOS ANGELES, CHIEF CHARLIE BECK,

                                              1
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 2 of 7 Page ID #:2022




    1 SERGEANT ROBERT CALDERON and SERGEANT JEFF MARES were present
    2 and represented by attorneys Colleen R. Smith and Cory M. Brente.
    3         The trial was bifurcated, with phase I addressing liability and compensatory
    4 damages only.
    5         A jury of 8 persons was regularly impaneled and sworn on February 21, 2017.
    6 Witnesses were sworn and testified. On March 2, 2017, following the presentation of
    7 evidence and argument during a jury trial, the jury, in the above-entitled action,
    8 UNANIMOUSLY found as follows:
    9
                             JUDGMENT ON SPECIAL VERDICT
   10
   11
              WE, THE JURY in the above-entitled action, unanimously find as follows on
   12
        the questions submitted to us:
   13
   14
               CLAIMS BY ABREGO PLAINTIFFS AGAINST DEFENDANTS
   15
   16 (QUESTION NOS. 2 through 10 solely address claims brought in the related matter
   17 of Maria Teresa Abrego, et al., v. City of Los Angeles, et al., CV15-00039 BRO
   18 (JEMx) only, and thus, are omitted from the judgment herein.)
   19
   20 QUESTION NO. 1: Have the Abrego Plaintiffs proved that any of the following
   21 Defendants violated Omar Abrego’s Fourth Amendment Constitutional Rights by
   22 using excessive force to detain him?
   23         Answer (check “Yes” or “No”) following the name of each Defendant:
   24         SERGEANT JEFF MARES                         YES    ✓____       NO _____
   25         SERGEANT ROBERTO CALDERON                   YES_______         NO     ✓____
   26
        f you answered “No” as to each of the Defendants, skip to Question No. 3.
   27
        If you answered “Yes” as to any Defendant, proceed to Question No. 2.
   28

                                                2
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 3 of 7 Page ID #:2023




    1         CLAIMS BY PLAINTIFF FIGUEROA AGAINST DEFENDANTS
    2 QUESTION NO. 11: If you gave only “No” responses to Question No. 1, please
    3 proceed to Question No. 13. If you gave any “Yes” responses to Question No. 1,
    4 please answer the following question. Has Plaintiff Figueroa proved that any of the
    5 following Defendants violated her Fourteenth Amendment Constitutional Rights to a
    6 familial association with Omar Abrego by using unreasonable force to detain him and
        with an unlawful purpose to harm him?
    7
              Answer (check “Yes” or “No”) following the name of each Defendant for
    8
        whom you answered “Yes” in Question No. 1:
    9
              SERGEANT JEFF MARES                          YES_______            NO ✓____
   10
              SERGEANT ROBERTO CALDERON                    YES_______            NO   ✓____
   11
   12
        f you answered “No” as to each of the Defendants, skip to Question No. 13.
   13
        If you answered “Yes” as to any Defendant, proceed to Question No. 12.
   14
   15 QUESTION NO. 12: For each “Yes” response to Question No. 11, do you find that
   16 Plaintiff Figueroa has proved that the Defendant’s conduct was the cause of injury to
   17 her?
   18 Answer (check “Yes” or “No”) following the name of only that Defendant for whom
   19 you answered “Yes” in Question No. 11:
   20         SERGEANT JEFF MARES                          YES_______            NO_______
   21         SERGEANT ROBERTO CALDERON                    YES_______            NO_______
   22
   23 Please proceed to Question No. 13.
   24
        QUESTION NO. 13: Has Plaintiff Figueroa proved under California law that the
   25
        following Defendant intentionally inflicted emotional distress on her?
   26
              Answer (check “Yes” or “No”) following the name of each Defendant:
   27
              SERGEANT ROBERTO CALDERON                    YES_______            NO   ✓____
   28

                                                 3
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 4 of 7 Page ID #:2024




    1 1f you answered “No” as to each of the Defendants, skip to Question No. 15.
    2 If you answered “Yes” as to any Defendant, proceed to Question No. 14.
    3
    4 QUESTION NO. 14: For each “Yes” response to Question No. 13, do you find that
    5 Plaintiff Figueroa has proved that the Defendant’s conduct was a substantial factor in
    6 causing her harm?
            Answer (check “Yes” or “No”) if you answered “Yes” in Question No. 13:
    7
            SERGEANT ROBERT CALDERON                 YES_______         NO_______
    8
    9
        Please proceed to Question No. 15.
   10
   11
        QUESTION NO. 15: Has Plaintiff Figueroa proved that the following Defendant
   12
        negligently inflicted emotional distress on her?
   13
              Answer (check “Yes” or “No”):
   14
              SERGEANT ROBERTO CALDERON                    YES_______        NO    ✓____
   15
   16 1f you answered “No”, skip to Question No. 17.
   17 If you answered “Yes”, proceed to Question No. 16.
   18
   19 QUESTION NO. 16: For each “Yes” response to Question No. 15, do you find that
   20 Plaintiff Figueroa has proved that the Defendant’s conduct was a substantial factor in
   21 causing her harm?
   22       Answer (check “Yes” or “No”) if you answered “Yes” in Question No. 14:
   23         SERGEANT JEFF MARES                          YES_______        NO_______

   24
        Please proceed to Question No. 17.
   25
   26
   27
   28

                                                  4
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 5 of 7 Page ID #:2025




    1                 DAMAGES AS TO PLAINTIFF FIGUEROA ONLY
    2
    3 If you gave any “Yes” responses to either Question Nos. 12, 14 and/or 16 please
    4 answer the following questions. Otherwise, please sign and a date this form where
    5 indicated below.
    6 QUESTION NO. 17: If you gave any “Yes” responses to Question Nos. 12, 14, or
        16:
    7
        What is the total amount of economic damages suffered by Plaintiff Figueroa?
    8
        $__________________.
    9
        What is the total amount of noneconomic damages suffered by Plaintiff Figueroa?
   10
        $__________________.
   11
        Please proceed to Question No. 18.
   12
        QUESTION NO. 18: If you gave any “Yes” responses to Question No. 12, has
   13
        Plaintiff Figueroa proved by a preponderance of the evidence that any of the following
   14 Defendants acted with malice, fraud or oppression?
   15      Answer (check “Yes” or “No”) following the name of only that Defendant for
   16 whom you answered “Yes” in Question No. 12:
   17      SERGEANT JEFF MARES                              YES_______         NO_______
   18         SERGEANT ROBERT CALDERON                      YES_______         NO_______
   19
   20 Please proceed to Question No. 19.
   21
   22 QUESTION NO. 19: If you gave any “Yes” responses to Question No. 14, has
   23 Plaintiff Figueroa proved by clear and convincing evidence that the following
   24 Defendants acted with malice, oppression or fraud when they intentionally inflicted
      emotional distress?
   25
            Answer (check “Yes” or “No”) if you answered “Yes” in Question No. 14:
   26
            SERGEANT ROBERT CALDERON                   YES_______         NO_______
   27
   28

                                                  5
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 6 of 7 Page ID #:2026




    1 Please proceed to Question No. 20.
    2
    3 QUESTION NO. 20: If you gave any “Yes” answers to Question No. 15 and you
    4 entered any amounts in response to Question No. 17, what percentage of
    5 responsibility for Plaintiff Figueroa’s harm do you assign to each of the following
    6 persons (Do not include any Defendant for whom you did not answer “Yes” in
        Question No. 15)?
    7
                    LILIA FIGUEROA                              _______%
    8
                    SERGEANT ROBERT CALDERON                    _______%
    9
                    TOTAL                                       100%
   10
        Please date and sign below, and return this form to the Court. Thank you.
   11
   12
        DATED: 3/2/17                        ________/s/ ________________
   13
                                             FOREPERSON OF THE JURY
   14
   15         By reason of dismissals, the rulings of the Court, and the special verdict,
   16 Defendants CITY OF LOS ANGELES, CHIEF CHARLIE BECK, SERGEANT
   17 ROBERT CALDERON and SERGEANT JEFF MARES are entitled to judgment
   18 against Plaintiff LILIA ABREGO FIGUEROA.
   19         Now, therefore, it is ORDERED, ADJUDGED AND DECREED that Plaintiff
   20 LILIA ABREGO FIGUEROA, have and recover nothing by reason of each and all
   21 her claims as set forth in the Complaint against Defendants CITY OF LOS
   22 ANGELES, CHIEF CHARLIE BECK, SERGEANT ROBERT CALDERON and
   23 SERGEANT JEFF MARES and that Defendants shall recover their costs in
   24 accordance with Local Rule 54.
   25
   26
   27
   28

                                                6
Case 2:15-cv-01472-BRO-JEM Document 119 Filed 05/11/17 Page 7 of 7 Page ID #:2027




    1 JUDGMENT IS HEREBY ENTERED IN FAVOR OF ALL DEFENDANTS ON
    2 ALL CLAIMS AGAINST PLAINTIFF LILIA ABREGO FIGUEROA.
    3
    4        IT IS SO ORDERED.
    5 DATED: May 11, 2017
    6
                                        By:
    7                                         Honorable Beverly R. O’Connell
                                              United States District Court Judge
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                              7
